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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  JOSHUA MOSES,

                                Plaintiff,                   CIVIL ACTION NO. 20-cv-1025
                 v.

  DR. RAVI SOOD, DR. LOUIS G. FARES,                       Motion Returnable: February 20, 2024
  DR. B. CHOWDHURY, NICOLETTA
  TURNER-FOSTER, DAVID ORTIZ,                         PLAINTIFF’S RESPONSE TO DEFENDANT
  UNITED STATES OF AMERICA, and                         BHANWARLAL CHOWDHURY, M.D.’S
  BUREAU OF PRISONS, JOHN/JANE                         STATEMENT OF MATERIAL FACTS IN
  DOES 1-10.                                           SUPPORT OF MOTION FOR SUMMARY
                                                                   JUDGMENT
                                Defendants.



       Plaintiff Joshua Moses (“Plaintiff”) objects to Defendant Bhanwarlal Chowdhury, M.D.’s

(“Defendant”) Statement of Material Facts (“SMF”) filed with Defendant’s Motion for Summary

Judgment on the basis that Defendant entirely ignores his own deposition testimony, selectively cites

to allegations in the Second Amended Complaint, and inappropriately argues (without citation) that

Plaintiff’s (unrefuted) expert report must include references to constitutional and other purely legal

standards to support Plaintiff’s deliberate indifference claims. Subject to that objection, pursuant to

Rule 56.1 of the Local Rules for the United States District Court for the District of New Jersey,

Plaintiff, by his undersigned counsel, respectfully submits the following response to Defendant’s

SMF. This response is designed solely to respond to Defendant’s SMF by identifying which of the

factual grounds for Defendant’s Motion are disputed.

       The paragraph numbers for these Responses refer to the corresponding numbers in

Defendant’s SMF.

       1.      On May 7, 2021, Plaintiff Joshua Moses (“Plaintiff”) filed his Second Amended

Complaint. Attached hereto as “Exhibit A” is a true and correct copy of the Second Amended
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Complaint.

       Response: Plaintiff admits that attached as Exhibit A to Defendant’s SMF is a true and

correct copy of his Second Amended Complaint filed on April 22, 2021. Plaintiff denies the

remaining allegations of this Paragraph. Plaintiff further disputes that this allegation is

relevant to Defendant’s Partial Motion for Summary Judgment.



       2.     Plaintiff alleges that Dr. Chowdhury, along with other Defendants, violated his

Constitutional Rights while he served his sentence at the Federal Correctional Institute Fort Dix.

Exhibit A, paragraphs 44; 233-248.

   Response: Plaintiff denies as stated the allegations of this Paragraph. Plaintiff admits that

his Second Amended Complaint states claims against Defendant for, among other federal and

state claims, violating his constitutional rights pursuant to Bivens v. Six Unknown Named Agents

of Federal Bureau of Narcotics, 403 U.S. 388 (1971), while he was incarcerated at the Federal

Correctional Institute at Fort Dix (“Fort Dix”). The record evidence supporting Plaintiff’s

claims against Defendant are set forth in Plaintiff’s Counterstatement of Material Facts

(“CSMF”) prepared after the completion of discovery, including Defendant’s deposition and

Plaintiff’s Declaration filed herewith.



       3.     Dr. Chowdhury is a medical doctor, who provided services at St. Francis Hospital.

Exhibit A, paragraph 21.

       Response: Plaintiff admits Paragraph 3 of Defendant’s SMF.




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       4.       Dr. Chowdhury is a Gastroenterologist. Id.

       Response: Plaintiff admits Paragraph 4 of Defendant’s SMF.




       5.       Plaintiff had his first consultation with Dr. Chowdhury on April 18, 2018. Exhibit A,

paragraph 92.

       Response: Plaintiff denies as stated Paragraph 5 of Defendant’s SMF but admits that

his first visit with Dr. Chowdhury occurred on April 24, 2018. See CSMF at ¶¶ 10-37 for a full

description of the April 24, 2018 visitation between Plaintiff and Defendant.



       6.       At this consultation, Dr. Chowdhury informed Plaintiff that he had short-gut syndrome

and small bowel adhesions. Exhibit A, paragraph 96.

       Response: Plaintiff denies Paragraph 6 of Defendant’s SMF as incompletely stated

based on the sworn record evidence developed through discovery, including the Defendant’s

deposition and Plaintiff’s Declaration. See CSMF at ¶¶ 10-37 for a full description of the April

24, 2018 visitation between Plaintiff and Defendant. Plaintiff further disputes the allegations

of this Paragraph to the extent Defendant implies that he acted properly or as a reasonable

gastroenterologist in connection with his treatment of Plaintiff’s serious medical conditions.

Moreover, the allegations of Paragraph 6 are not of fact and must be supported by record

evidence. See FRCP 56; L. Civ. R. 56.1. The allegations in Plaintiff’s Second Amended

Complaint, on which Defendant relies for his only citation, clearly establishes allegations

sufficient to survive summary judgment on Count One of his Second Amended Complaint. See

Second Amended Compl.




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       7.     Dr. Chowdhury also cautioned Plaintiff against more procedures and declined to

perform endoscopies. Exhibit A, paragraph 95-96.

       Response: Plaintiff denies Paragraph 7 of Defendant’s SMF as incompletely stated

based on the sworn record evidence developed through discovery, including Defendant’s

deposition and Plaintiff’s Declaration. See CSMF at ¶¶ 10-37 for a full description of the April

24, 2018 visitation between Plaintiff and Defendant. Plaintiff admits that Defendant refused to

provide necessary procedures. Plaintiff also disputes the allegations of this Paragraph to the

extent Defendant implies that he acted properly or as a reasonable gastroenterologist in

connection with his treatment of Plaintiff’s serious medical conditions.            Moreover, the

allegations in Paragraph 7 are not of fact and must be supported by record evidence. See FRCP

56; L. Civ. R. 56.1. The allegations in Plaintiff’s Second Amended Complaint, on which

Defendant relies for his only citation, clearly establishes allegations sufficient to survive

summary judgment on Count One of Plaintiff’s Second Amended Complaint. See Second

Amended Compl.



       8.     Plaintiff argues that Dr. Chowdhury’s treatment of plaintiff and his refusal to perform

the endoscopies was not in accordance with an acceptable standard of care. Exhibit A, paragraph 97.

       Response: Plaintiff denies Paragraph 8 of Defendant’s SMF as incompletely stated

based on the sworn record evidence developed through discovery, including Defendant’s

deposition and Plaintiff’s Declaration. Plaintiff and his expert witness, Dr. Todd Eisner, M.D.,

contend that Defendant’s continuous and inexplicable refusal to treat Plaintiff’s severe

abdominal pain as well as failing to order or recommend not even one of a battery of available

tests (endoscopies, CT scans, MRIs, ultrasounds, X-rays) to determine its cause shows his

“deliberate indifference” as defined by law and breach of the applicable standard of medical

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care. See CSMF at ¶¶ 33-34; September 7, 2023 report of Todd Eisner, M.D. (“Dr. Eisner’s

Report”).1



       9.      On November 30, 2018, Dr. Chowdhury performed Plaintiff’s upper and lower

endoscopies at St. Francis Medical Center. Exhibit A, paragraph 124.

       Response: Plaintiff admits that after nine months of delay, Defendant finally performed

Plaintiff’s upper and lower endoscopies on or about November 30, 2018. Plaintiff disputes the

allegations of this Paragraph to the extent Defendant implies that he acted in accordance with

the applicable standard of medical care. See Dr. Eisner’s Report at p. 4-5. Moreover, the

allegations of Paragraph 9 are not of fact and must be supported by record evidence. See FRCP

56; L. Civ. R. 56.1. The allegations in Plaintiff’s Second Amended Complaint, on which

Defendant relies for his only citation, clearly establishes allegations sufficient to survive

summary judgment on Count One of Plaintiff’s Second Amended Complaint. See Second

Amended Compl.



       10.     Plaintiff again alleges that Dr. Chowdhury’s care fell below the applicable standard of

care. Exhibit A, paragraph 126.

       Response: Plaintiff denies Paragraph 10 of Defendant’s SMF as incompletely stated

based on the sworn record evidence developed through discovery, including Defendant’s

deposition, Plaintiff’s Declaration and Dr. Eisner’s Report. Plaintiff and his expert witness

contend that in connection with the November 30, 2018 endoscopies, Defendant again failed to

treat Plaintiff’s severe abdominal pain – his “chief complaint” – and refused to order or



1
  Plaintiff appreciates Defendant’s courtesy in entering Dr. Eisner’s September 7, 2023 expert report
into the summary judgment record without need for further authentication or verification.
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recommend several additional diagnostic tests such as CT scans, MRIs, ultrasounds, or X-rays

to rule out other painful conditions that could not be detected through endoscopies. See CSMF

at ¶¶ 40, 44-47; Dr. Eisner’s Report at p. 3-6. Plaintiff and his expert further contend that

Defendant’s refusal to treat his severe abdominal pain and follow up with additional testing

shows his “deliberate indifference” as defined by law and breach of the applicable standard of

medical care. See CSMF at ¶¶ 40, 44-47; Dr. Eisner’s Report at p. 3-6. Moreover, the allegations

of Paragraph 10 are not of fact and must be supported by record evidence. See FRCP 56; L.

Civ. R. 56.1.



       11.       On August 21, 2019, Plaintiff had another consultation with Dr. Chowdhury

concerning Plaintiff’s chronic constipation, diarrhea, and short-bowel syndrome.     Exhibit A,

paragraph 154.

       Response: Plaintiff admits that he had another visit with Defendant on August 21, 2019

but denies the remainder of Paragraph 11 of Defendant’s SMF as incomplete based on the

sworn record evidence developed through discovery, including Defendant’s deposition,

Plaintiff’s Declaration and Dr. Eisner’s Report. While Plaintiff admits that on August 21, 2019,

Defendant provided him with a diagnosis of “chronic constipation, diarrhea and short bowel

syndrome,” that purported description of their encounter glaringly omits that Plaintiff also

reported his ongoing, severe abdominal pain to Defendant and that Defendant failed to treat

that pain or order or recommend any follow up testing to determine the cause of that pain. See

CSMF at ¶¶ 49-53; Dr. Eisner’s Report at 5-6. Moreover, the allegations of Paragraph 11 are

not of fact and must be supported by record evidence. See FRCP 56; L. Civ. R. 56.1. The

allegations in Plaintiff’s Second Amended Complaint, on which Defendant relies for his only

citation, clearly establishes allegations sufficient to survive summary judgment on Count One

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of Plaintiff’s Second Amended Complaint. See Second Amended Compl.



       12.    Dr. Chowdhury ordered colace, fiber, and bentyl. Exhibit A, paragraph 155.

       Response: Plaintiff admits that at the conclusion of their August 21, 2019 visit,

Defendant prescribed him Colace (a stool softener), fiber, and Bentyl (an antispasmodic). As

Defendant admitted under oath, none of these three preparations have any direct pain-relieving

qualities. See CSMF at ¶ 51; Dr. Eisner’s Report at 5-6. Plaintiff further disputes the

allegations of this Paragraph to the extent Defendant implies that he acted in accordance with

the applicable standard of medical care. Id. Moreover, the allegations of Paragraph 12 are not

of fact and must be supported by record evidence. See FRCP 56; L. Civ. R. 56.1. The allegations

in Plaintiff’s Second Amended Complaint, on which Defendant relies for his only citation,

clearly establishes allegations sufficient to survive summary judgment on Count One of

Plaintiff’s Second Amended Complaint. See Second Amended Compl.



       13.    On October 31, 2019, Plaintiff had another consultation with Dr. Chowdhury

concerning short-bowel syndrome, weight loss, and adhesions. Exhibit A, paragraph 171.

       Response: Plaintiff denies Paragraph 13 of Defendant’s SMF as incompletely stated

based on the sworn record evidence developed through discovery, including Defendant’s

deposition, Plaintiff’s Declaration and Dr. Eisner’s Report. While Plaintiff admits that on

October 31, 2019, Defendant provided him with a diagnosis of “short bowel syndrome, weight

loss, and adhesions,” that purported description of their encounter glaringly omits that Plaintiff

also reported to Defendant that he was suffering from ongoing severe abdominal pain, that

Defendant failed to treat that pain, and refused to order or recommend any follow up diagnostic

testing to determine its cause. See CSMF at ¶¶ 54-58. Moreover, the allegations of Paragraph

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13 are not of fact and must be supported by record evidence. See FRCP 56; L. Civ. R. 56.1.

The allegations in Plaintiff’s Second Amended Complaint, on which Defendant relies for his

only citation, clearly establishes allegations sufficient to survive summary judgment on Count

One of Plaintiff’s Second Amended Complaint. See Second Amended Compl.



       14.    Dr. Chowdhury recommended Ensure, Multivitamins and a low lactose diet. Id.

       Response: Plaintiff admits that during their October 31, 2019 visit, Defendant only

prescribed him “Ensure” and multivitamins despite the severe chronic pain Plaintiff reported

to Defendant. Defendant admitted under oath that neither of these supermarket supplements

have any pain-relieving qualities. See CSMF at ¶ 58. Plaintiff further disputes the allegations

of this Paragraph to the extent Defendant implies that he acted in accordance with the

applicable standard of medical care. See Dr. Eisner’s Report. Moreover, the allegations of

Paragraph 14 are not of fact and must be supported by record evidence. See FRCP 56; L. Civ.

R. 56.1. The allegations in Plaintiff’s Second Amended Complaint, on which Defendant relies

for his only citation, clearly establishes allegations sufficient to survive summary judgment on

Count One of Plaintiff’s Second Amended Complaint. See Second Amended Compl.



       15.    On September 7, 2023, Plaintiff submitted an expert report authored by Todd Eisner,

M.D. Attached hereto as “Exhibit B” is a true and correct copy of Dr. Eisner’s report.

       Response: Plaintiff admits Paragraph 15 of Defendant’s SMF.



       16.    Dr. Eisner’s report does not discuss the Eight (8th) Amendment or deliberate

indifference. Exhibit B.

       Response: Plaintiff admits that the words “Eighth Amendment” or “deliberate

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indifference” do not appear in Dr. Eisner’s Report because they are, obviously, purely legal

terms and not relevant to his independent medical opinion in this action. Notwithstanding

Defendant’s novel assertion (without citation), the substance of Dr. Eisner’s expert medical

opinion clearly supports a finding that Defendant acted with “deliberate indifference” in

violation of Plaintiff’s Eighth Amendment rights. See Dr. Eisner’s Report. Moreover, such

legal argument within Defendant’s 56.1 Statement of Material Facts is inappropriate and

should be disregarded by the Court. See L. Civ. R. 56.1; Ill. Nat'l Ins. Co. v. Wyndham

Worldwide Operations, Inc., 85 F. Supp. 3d 785, 792 (D.N.J. Jan 2015) (“In this District, each

party to a summary judgment motion must submit a statement of material facts that are not in

dispute. L. Civ. R. 56.1. Such a statement may not ‘contain legal argument or conclusions of

law.’ Statements that ‘blur[] the line between fact and opinion’ and include ‘arguments cloaked

as 'undisputed facts'’ are improper under the Rule and will not be considered by the court.”)

(citing N.J. Auto. Ins. Plan v. Sciarra, 103 F. Supp. 2d 388, 395 n.4 (D.N.J. 1998)).



       17.     Defendant now files this motion for summary judgment to dismiss Count One of

Plaintiff’s Complaint with prejudice as Plaintiff cannot demonstrate deliberate indifference.

       Response: Plaintiff admits that Defendant has filed the present Motion, which should be

denied because genuine issues of material fact clearly exist concerning Plaintiff’s claim in Count

One of the Second Amended Complaint. However, this Paragraph is disputed as improper

legal argument to the extent Plaintiff purports to offer this as a statement of undisputed

material fact. See L. Civ. R. 56.1.




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                                            Respectfully submitted,
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